    8:13-cb-00010-SMB         Doc # 44      Filed: 04/04/14    Page 1 of 1 - Page ID # 85




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                      Plaintiff,                               8:13CB10
                                                    VIOLATION NO.: 1753504 NE14
       vs.

CHRISTOPHER W. MERTZ,                                                 ORDER

                      Defendant.


UNITED STATES OF AMERICA,
                                                               8:13CB12
                      Plaintiff,                    VIOLATION NOS.: 2304774 NE14
                                                                    2304775 NE14
       vs.

CHRISTOPHER W. MERTZ,                                                 ORDER

                      Defendant.


IT IS ORDERED:
       The government’s motions to continue (Filing No. 43 in 8:13CB10 and Filing No. 18 in
8:13CB12) are granted. The defendant is granted an extension of time until June 24, 2014, in
which to pay the collateral amount due. The full collateral amount is payable in full before that
date or the defendant must appear for hearing before the undersigned magistrate judge on June
24, 2014 at 9:00 a.m. in Courtroom No. 7, Second Floor, Roman L. Hruska United States
Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The clerk will mail a copy of this order to
Christopher W. Mertz at his current address of Christopher W. Mertz, c/o Omaha VA Medical
Center, 4101 Woolworth Avenue, Omaha, Nebraska 68105.


       Dated this 4th day of April, 2014.

                                                    BY THE COURT:
                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
